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                             UNTIED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


IN RE RESTRAINT OF TWENTY REAL
PROPERTIES IN CALIFORNIA AND FLORIDA
OWNED OR CONTROLLED BY FABRICE                                       No. 1:16-mc-1612 (CKK)
TOUIL OR RICHARD TOUIL


  OPPOSITION TO GOVERNMENT MOTION FOR LEAVE TO FILE A SURREPLY

        Proposed intervenors Ocean 26 Holdings LLC, Mondrian 1026 LLC, and Ocean Five

Office 400 LLC (“Intervenors”), by and through their undersigned attorneys, oppose the United

States’ Motion for Leave to File a Surreply [Dkt. No. 45] (the “Motion”). All of the issues the

government proposes addressing in its surreply could have been addressed in its earlier

responses, and the government is only seeking leave to file a surreply in recognition of the fact

its initial responses fail to justify the continued restraint of the properties.

        In their replies, Intervenors enumerated several arguments presented in their opening

memorandums for vacating the restraining orders that the government chose not to address in its

responses. As Intervenors pointed out, the government’s responses did not cite or address

controlling case law even though Intervenors discussed this case law and relied on it in their

opening memorandums. Moreover, Intervenors noted, the government made no effort to address

Intervenors’ assertion that the French Order failed to trace the funds used to purchase the

properties being restrained even though Intervenors highlight this point in their opening

memorandums. Having been called out for filing purely procedural responses that failed to

address the substance of Intervenors’ motions to vacate, the government now requests a second

chance. The government offers no reason it could not have addressed these issues in its initial

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responses. That is because the government could have addressed these points and simply failed

to do so.

       Surreplies are “generally disfavored” by this Court, and the government’s motion for

leave to file a surreply does not meet the threshold legal standard – a standard the government

never even states. Banner Health v. Sebelius, 905 F. Supp. 2d 174, 187 (D.D.C. 2012) (citing

Kifafi v. Hilton Hotels Retirement Plan, 736 F. Supp. 2d 64, 69 (D.D.C. 2010)). The critical

factors in assessing a motion for leave to file a surreply are “whether the movant’s reply . . .

raises arguments or issues for the first time” that could not therefore have been addressed in a

party’s initial response, “whether the nonmovant’s proposed surreply would be helpful to the

resolution of the pending motion,” and “whether the movant would be unduly prejudiced were

leave to be granted.” Id. (citing Glass v. Lahood, 786 F.Supp.2d 189, 231 (D.D.C. 2011). None

of these factors support the government’s motion and therefore the motion should be denied.

I.     The Government Had the Opportunity to Address these Issues, and Its Failure to
       Do So Supports Denying It Leave to File a Surreply.

       The government proposes to address three issues in its surreply. None were raised for the

first time in Intervenors’ reply briefs, and the government could have dealt with all of them in its

initial responses. The government has already had an opportunity to address these issues and

elected to remain silent. Surreplies are not intended to afford parties a second bite at the apple

when that party simply fails to discuss issues that they could have addressed in their initial

responses. The government’s motion should be denied.

       First, the government seeks to address Luan v. United States, 722 F.3d 388 (D.C. Cir.

2013), a case the Intervenors discussed at length in their opening memorandums. See Ocean 26

Holdings LLC’s and Mondrian 1026 LLC’s Motion [Dkt. No. 27] at 7 (“The D.C. Circuit has

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found that [18 U.S.C § 983(j)] requires ‘that the complaint . . . state sufficiently detailed facts to

support a reasonable belief that the government will be able to meet its burden of proof at

trial.’”) (quoting Gang Luan v. United States, 722 F.3d 388, 397 (D.C. Cir. 2013)); Ocean Five

Office 400 LLC’s Motion [Dkt. No. 28] at 4 (“[T]he French Order did not provide facts

sufficient to support a reasonable belief that the Property was purchased with criminal

proceeds.”). The government did not cite, let alone engage with, this case in its initial responses,

and the government presents no reason it could not have done so in those filings.

       Second, the government seeks to address the deference required by 28 U.S.C. § 2467 to

both findings of fact of foreign courts and to the content of foreign forfeiture law. Because the

government restrained Intervenors’ property pursuant to 18 U.S.C. § 2467, there is no reason this

issue could not have been addressed in the government’s initial response. Moreover, Intervenors

discussed this statute and the role of U.S. judicial review in their opening memorandums. See

Ocean 26 Holdings LLC’s and Mondrian 1026 LLC’s Motion [Dkt. No. 27] at 5 (“The Court

must therefore vacate the U.S. Order as to the Properties as a violation of Movants’ rights under

28 U.S.C. § 2467.”); Ocean Five Office 400 LLC’s Motion [Dkt. No. 28] at 5 (“The Court must

therefore vacate the U.S. Order as to the Property as a violation of Ocean Five’s rights under 28

U.S.C. § 2467.”).

       Third, the government seeks to address “[t]he sufficiency of the procedural protections

available in the French proceedings.” Dkt. No. 45 at 2. Again, the government never contends

its purported need to address this issue arises because Intervenors raised it for the first time in

their replies. Nor could it make that argument as Intervenors’ opening memorandums set forth

all of the reasons the French Order was deficient in establishing certain property was purchased

with the proceeds of crime. See Ocean 26 Holdings LLC’s and Mondrian 1026 LLC’s Motion
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[Dkt. No. 27] at 7 (“To enforce a foreign restraining order, a court must find that it was ‘issued in

a manner consistent with . . . the procedural due process protections for a restraining order under

section 983(j) of title 18. 28 U.S.C. § 2467(d)(3)(a)(ii)(I).’”); Ocean Five Office 400 LLC’s

Motion [Dkt. No. 28] at 4 (“[T]he French Order did not provide facts sufficient to support a

reasonable belief that the Property was purchased with criminal proceeds.”).

       Finally, the government states in a footnote that the original reply by Ocean 26 Holdings

LLC and Mondrian 1026 LLC, ECF No. 43, was unilaterally amended by ECF No. 44 on

October 31, 2018. If the government is attempting to suggest this amendment supports its

motion for leave to file a surreply, then the suggestion is unwarranted. Ocean 26 Holdings LLC

and Mondrian 1026 LLC amended their original reply to add a footnote, Dkt. No. 44 at n. 2,

which sets forth information obtained from Fabrice Touil’s French criminal counsel dispelling

the government’s suggestion that Mr. Touil ever violated the conditions of his bail. The

government does not propose addressing this information in a surreply, so the amendment is

irrelevant to its motion.

II.    The Government’s Arguments Will Not Facilitate the Resolution of this Matter.

       The government’s motion should also be denied because a surreply addressing the three

issues outlined above will not facilitate the resolution of this matter. With respect to Luan v.

United States, 722 F.3d 388 (D.C. Cir. 2013), the Court is capable of reading the case and

deciding whether it agrees with Intervenors’ characterization of its holding. Moreover, while

this Court has discretion to apply this rule, “[a]n argument in a dispositive motion that the

opponent fails to address in an opposition may be deemed conceded.” Mullen v. Bureau of

Prisons, 843 F. Supp. 2d 112, 115 (D.D.C. 2012) (quoting Rosenblatt v. Fenty, 734 F. Supp. 2d

21, 22 (D.D.C 2010)). As a result, the government should not be permitted to undo the legal
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position it conceded through silence, which is that Intervenors’ characterization of Luan is

accurate and should be accepted by this Court.

       The second issue that the government proposes to address – the degree of deference the

French Court is entitled to in deciding questions of fact – is not in dispute as Intervenors do not

question that the French Court is entitled to deference under 28 U.S.C. § 2467(f). Rather,

Intervenors contend only that a U.S. Court need not defer to the French Order’s conclusory

assertions and that even accepting the facts as set forth by the French Order, the French Order

fails to support the restraint of the assets because the French Order does not trace the funds used

to purchase the seized property to criminal proceeds. It is in recognition of this failure by the

French Order that the government never questioned Intervenor’s tracing analysis in its initial

responses, apparently conceding that the French Order is deficient. Instead, for the first time, the

government claimed the assets could be seized as “substitute assets.” As Intervenors note in

their replies, the French Order never claimed this particular property could or should be seized as

substitute assets. While the government now appears to want to reverse course and defend the

underlying French Order, the degree of deference to which the French Court is entitled will not

facilitate resolution of the matter unless the government intends to claim that this Court must

defer to even the unproven, conclusory assertions of a foreign court, which is a manifestly

unreasonable position at odds with the due process requirements of the U.S. Constitution.

       Likewise, the government’s proposed discussion of the general procedural protections

afforded by French courts will not facilitate resolution of this matter since Intervenors do not

base their motion on the absence of such protections. Intervenors contend that because the

French Order admits it is unable to trace the source of funds used to purchase one of the

properties and, with respect to other properties, the French Order offers nothing more than the
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conclusory assertion that criminal proceeds were used to purchase the property, it would violate

U.S. due process to enforce the French Order. The general protections afforded by the French

Court are irrelevant as they cannot justify the violation of constitutional rights in an individual

case.

III.    Granting the Government’s Motion to Submit a Surreply Will Unduly Prejudice
        Intervenors.

        Finally, the government’s motion should be denied because granting leave would unduly

prejudice Intervenors by denying them the opportunity to respond and by further delaying their

effort to vacate restraints on their property. The government supplies no reason it could not have

addressed these three issues in its initial responses. In the absence of such an explanation, there

is no ground to allow the government to sandbag Intervenors in a surreply and overcome the

normal rule that the Intervenors would have the last word.

IV.     If the Government’s Motion Is Granted, Then Intervenors Should Be Given a
        Further Opportunity to Respond.

        Intervenors do not wish to extend the briefing schedule, and they believe the

government’s motion should be denied for all of the reasons set forth above. However, in the

event the Court grants the government leave to file a surreply, they request the opportunity to

respond in kind.

                                          CONCLUSION

        For the foregoing reasons, the Court should deny the government’s motion for leave to

file a surreply.




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Dated: November 4, 2018                  Respectfully submitted,


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